Case 1:16-cv-01414-ESC ECF No. 12 filed 02/28/17 PageID.65 Page 1 of 1




                  UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION


 Meghan M. Betz,
                                           Case No. 1:16-cv-01414
               Plaintiff,

 v.
                                           HON. ELLEN S. CARMODY
 Law Office of Barbara Tsaturova,
 PLLC,

                Defendant.

                            NOTICE OF SETTLEMENT

       NOW COMES the Plaintiff, Meghan Betz, by and through her under-

signed counsel, who hereby informs the Court that a settlement has been reached

in this case. Plaintiff anticipates filing a dismissal within the next 30 days. Plain-

tiff requests that this Court adjourn all dates currently set for this case.

                                              Respectfully submitted,

                                              GOLDEN LAW OFFICES, P.C.

       Dated: February 28, 2017
                                              /s/ B. Thomas Golden
                                              B. Thomas Golden (P70822)
                                              Attorney for the Plaintiff
                                              2186 West Main Street
                                              P.O. Box 9
                                              Lowell, Michigan 49331
                                              Telephone: (616) 897-2900
                                              Facsimile: (616) 897-2907
                                              btg@bthomasgolden.com
